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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS


IN RE: TEXAS INSTRUMENTS         )     Civil Action Nos.
       ENVIRONMENTAL CASES       )     16-10358-DPW
                                 )     16-12338-DPW
                                 )     16-12339-DPW
                                 )     16-12341-DPW
                                 )     16-12342-DPW
                                 )     16-12343-DPW
                                 )     16-12345-DPW
                                 )     16-12352-DPW
                                 )     16-12353-DPW
                                 )     16-12354-DPW
                                 )     16-12355-DPW
                                 )     16-12356-DPW
                                 )     16-12357-DPW
                                 )     16-12358-DPW
                                 )     16-12359-DPW
                                 )     16-12360-DPW
                                 )     16-12361-DPW
                                 )     16-12362-DPW
                                 )     16-12363-DPW
                                 )     16-12364-DPW
                                 )     16-12365-DPW
                                 )     16-12366-DPW
                                 )     16-12367-DPW
                                 )     16-12368-DPW
                                 )     16-12369-DPW
                                 )     16-12373-DPW


                           PROCEDURAL ORDER
                           October 10, 2018

     Plaintiffs’ Counsel in the 26 remaining cases in this

litigation which I have consolidated for pretrial proceedings,

has moved (Dkt No. 73) to “[W]ithdraw as Counsel of Record

without Substitution[s] for the Plaintiiff[s]” based on what he

describes as family health, personal, and financial hardship

grounds.   The defendant does not challenge Plaintiffs’ Counsel’s
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asserted lack of capacity to pursue this litigation on behalf of

the clients for whom he has filed an appearance.

     Plaintiffs Counsel’s motion, however, comes in the midst of

meaningful discovery motion practice and requires leave of court

under Local Rule 83.5.2(c).     In order to assure that the

plaintiffs for whom counsel seeking to withdraw has, to date,

appeared in these several actions have proper notice of the

difficulties their counsel’s asserted circumstance has thrust

upon them in the pursuit of their claims, I will condition

allowance of withdrawal upon the submission on or before

November 26, 2018, of separate affidavits by counsel and by each

named plaintiff attesting under oath:

     (1) That they have discussed the circumstances of the

efforts of Plaintiff’s Counsel to withdraw and the consequent

importance for plaintiff to find new representation in order to

pursue the litigation;

     (2) That the plaintiff does not object to withdrawal of

current counsel of record; and

     (3) That the plaintiff understands that by no later than 45

days after the allowance of withdrawal of current counsel of

record, the plaintiff must secure the appearance of new counsel,

failing which that plaintiff's case will be dismissed for want

of prosecution unless the plaintiff can establish a proper

capacity to continue pro se.

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     It is the obligation of Plaintiffs’ Counsel and each named

plaintiff (whether individual or representative of a decedent’s

estate) to provide the court with a current address and other

contact information (including an email address, if available)

for each plaintiff as an interested party and to keep that

address up-to-date while participating in the respective

actions.   The failure to do so may lead to a lack of notice

regarding further developments in the respective cases.




                                 /s/ Douglas P. Woodlock_________
                                 DOUGLAS P. WOODLOCK
                                 UNITED STATES DISTRICT JUDGE




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